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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND



  STATE OF RHODE ISLAND; et al.,

                 Plaintiffs,

         v.                                               C.A. No. 1:25-cv-00128-JJM-LDA

  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                 Defendants.



              SUPPLEMENTAL DECLARATION OF MONICA S. VILLALOBOS

        Pursuant to 28 U.S.C. § 1746, I, Monica S. Villalobos, hereby supplement my prior

 declaration, signed on April 4, 2025, and further declare as follows:

        1.      Based on information and belief, the Department of Commerce sent reduction in

 force notices to 32 employees working in the Minority Business Development Agency (“MBDA”),

 which is an extreme reduction in MBDA staff.

        2.      As noted in my April 4, 2025 declaration, the Arizona Hispanic Chamber of

 Commerce (AZHCC) operates the Arizona MBDA Business Center (“the Center”) in reliance on

 multiple monetary awards from the federal government—two granted by the Department of

 Commerce, and another by the U.S. Department of the Treasury. Since the issuance of Executive

 Order 14,238, “Continuing the Reduction of the Federal Bureaucracy,” the AZHCC has not

 received any correspondence or direction from the MBDA, the Department of Commerce, or the

 U.S. Department of the Treasury concerning its awards.




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        3.      Due to the uncertainty created by lack of communication and considering the

 extreme reduction in MBDA staff, the AZHCC anticipates that it will not receive funding to

 continue these programs, if at all. Notably, it is my understanding that some of the operators of the

 43 MBDA business centers and programs across the country have already lost access to their award

 funds administered by the MBDA.

        4.      Without funding, the Center will close on June 30, 2025, and release two full time

 employees and several contractors.

        5.      Without funding for the AIANNH Project NABEDC, the AIANNH project will

 end on August 31, 2025, and the AZHCC will need to release two full time employees and several

 contractors working on the project.

        6.      Without the Capital Readiness Program (“CRP”) grant, the AZHCC will end the

 CRP program on August 31, 2026, releasing six employees and several contractors.

       I declare under penalty of perjury under the laws of the United States that, to the best of my

 knowledge, the foregoing is true and correct.

        Executed on this 11th day of April, 2025, at Phoenix, Arizona.




                                                 ____________________________________
                                                 Monica S. Villalobos, President and CEO
                                                 Arizona Hispanic Chamber of Commerce
                                                 Operator for the Arizona MBDA Business Center




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